64 F.3d 656
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank M. GASTER, Plaintiff-Appellant,v.W.D. CATOE, Employee of the South Carolina Department ofCorrections;  E.T. Taylor, Employee of the South CarolinaDepartment of Corrections;  John H. Carmichael, Employee ofthe South Carolina Department of Corrections;  R. Dority,Employee of the South Carolina Department of Corrections,Defendants-Appellees.
    No. 95-6857.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 27, 1995.Decided Aug. 22, 1995.
    
      Frank M. Gaster, Appellant Pro Se.  Robert Thomas King, WILLCOX, MCLEOD, BUYCK, BAKER &amp; WILLIAMS, P.A., Florence, SC, for Appellees.
      Before ERVIN, Chief Judge, MOTZ, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Gaster v. Catoe, No. CA-94-3308-2-20-A (D.S.C. May 12, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    